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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                            : CASE NO. 1:05 CR 525
                                                     :
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 GARY WALLER                                         : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
 -----------------------------------------------     :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Kenneth S. McHargh regarding the change of plea hearing and

plea agreement of Gary Waller which was referred to the Magistrate Judge with the

consent of the parties.

       On 26 October 2005, the government filed a three-count indictment against

Gary Waller for making false statements in the acquisition of firearms and aiding and

abetting in violation of 18 U.S.C. § 922(a)(6) and 18 U.S.C. § 2. On 3 November 2005,

a hearing was held in which Gary Waller entered a plea of not guilty before Magistrate

Judge Patricia A. Hemann. On 6 January 2006, Magistrate Judge McHargh received

Gary Waller’s plea of guilty and issued a Report and Recommendation (“R&R”)

concerning whether the plea should be accepted and a finding of guilty entered.
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       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Gary Waller is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Gary Waller is adjudged guilty of Counts One, Two and Three in

violation of 18 U.S.C. § 922(a)(6) and 18 U.S.C. § 2.

       Sentencing will be:

                       4 April 2006 at 2:00 p.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.


                                         /s/Lesley Wells
                                         UNITED STATES DISTRICT JUDGE


Dated: 16 February 2006




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